           Case 1:21-vv-01514-UNJ Document 43 Filed 03/03/23 Page 1 of 2


                                                    CORRECTED

    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-1514V
                                        (not to be published)


    MARGARET COOPER-HENDON,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: January 31, 2023


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Katherine Carr Esposito U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On June 25, 2021, Margaret Cooper-Hendon filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2
(the “Vaccine Act”). Petitioner alleges that as a result of receiving the influenza (“flu”)
vaccination on October 29, 2019, she suffered from Guillain-Barré syndrome (“GBS”).
Petition at Preamble. On September 12, 2022, a decision was issued awarding
compensation to Petitioner based on the Respondent’s proffer . ECF No. 32.



1 Because this unpublished Decision contains a reasoned explanation for the action in this case, I am

required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:21-vv-01514-UNJ Document 43 Filed 03/03/23 Page 2 of 2




       Petitioner has now filed a motion for attorney’s fees and costs, dated December
15, 2022 (ECF No. 37), requesting an award of $35,594.56 (representing $34,323.00 in
fees and $1,271.56 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that Petitioner incurred out-of-pocket expenses in the amount
of $22.60. ECF No. 38. Respondent reacted to the motion on December 20, 2023,
indicating that he is satisfied that the statutory requirements for an award of attorney’s
fees and costs are met in this case, but deferring resolution of the amount to be awarded
at the Court’s discretion. ECF No.39. Petitioner did not file a reply thereafter.

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

      The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, Petitioner is awarded the total
amount of $35,617.16 3 as follows:

            •   A lump sum of $35,594.56, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                Petitioner’s counsel, Ronald Craig Homer; and

            •   A lump sum of $22.60, representing reimbursement for Petitioner’s
                costs, in the form of a check payable to Petitioner.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk of Court shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master


3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
